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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                          MDL No. 2804
OPIATE LITIGATION
                                                      Case No. 1:17-md-2804
This document relates to: 1:20-op-45060
                                                      JUDGE DAN AARON POLSTER
Taylor County Hospital District Health
Facilities Corporation



          STIPULATION AND ORDER DISMISSING WITH PREJUDICE CLAIMS

        WHEREAS, Defendants AmerisourceBergen Drug Corporation, H. D. Smith, LLC f/k/a

H. D. Smith Wholesale Drug Co., and Cardinal Health, Inc. (collectively, and together with their

Distributor Released Entities,1 the “Distributor Defendants”); and Johnson & Johnson, Janssen

Pharmaceuticals,      Inc.,    Ortho-McNeil-Janssen         Pharmaceuticals,       Inc.    n/k/a    Janssen

Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.

(collectively, and together with their Released Entities, 2 the “Janssen Defendants”) filed in the

above-captioned case a Motion to Dismiss the claims of Plaintiff Taylor County Hospital District

Health Facilities Corporation (“Plaintiff”) as released by Kentucky statute, K.R.S. § 15.293 (Doc.

No. 5152) (“the Motion to Dismiss”);

          AND WHEREAS, Plaintiff has reviewed the Motion to Dismiss and agrees that its claims

against the Distributor Released Entities and Janssen Released Entities are released by K.R.S. §

15.293;




1
  The Distributor Released Entities are each and every entity that is a “Released Entity” as set forth in
Section I.HHH and Exhibit J of the Distributor Settlement Agreement, dated as of March 25, 2022.
2
  The Janssen Released Entities are each and every entity that is a “Released Entity” as set forth in Section
I.61 and Exhibit J of the Janssen Settlement Agreement, dated as of March 30, 2022.
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       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

of record for Plaintiff, the Distributor Defendants, and the Janssen Defendants that all claims of

Plaintiff that were or could have been asserted in this action against any Distributor Released Entity

or any Janssen Released Entity, including any entity identified in the Distributor Settlement

Agreement and the Janssen Settlement Agreement, are hereby voluntarily released and

DISMISSED WITH PREJUDICE, with each party to bear its own costs.



September 27, 2023                                    Respectfully Submitted,

                                                      /s/ John W. (“Don”) Barrett
                                                      Richard G. Meyer (#47554)
                                                      Mathew R. Klein (#84695)
                                                      Marie D. Guilfoyle (#27625)
                                                      Joseph M. Kramer (#97505)
                                                      DRESSMAN BENZINGER LAVELLE
                                                      PSC
                                                      207 Thomas More Parkway
                                                      Crestview Hills, KY 41017
                                                      (859) 341-1881
                                                      rmeyer@dbllaw.com
                                                      mklein@dbllaw.com
                                                      mguilfoyle@dbllaw.com
                                                      jkram.er@dbllaw.com

                                                      Kent Wicker (#82926)
                                                      Mitchel. T. Denham (#89815)
                                                      DRESSMAN BENZINGER LAVELLE
                                                      PSC
                                                      321 W. Main Street, #2100
                                                      Louisville, KY 40202
                                                      (502) 572-2500
                                                      kwicker@dbllaw.com
                                                      mdenham@dbllaw.com

                                                      John W. (“Don”) Barrett
                                                      Sterling Starns
                                                      David McMullan, Jr.
                                                      Richard Barrett
                                                      BARRETT LAW GROUP, P.A.
                                                      P.O. Box 927


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                                          404. Court Square North
                                          Lexington, MS 39095
                                          Tel: (662) 834-2488
                                          Fax: (662) 834-2628

                                          Warren Burns
                                          BURNS CHAREST, LLP
                                          900 Jackson St., Suite 500
                                          Dallas, Texas 75202
                                          Tel: (469) 904-4550
                                          Fax: (469) 444-5002

                                          Korey A. Nelson
                                          Lydia A. Wright
                                          Rick Yelton
                                          BURNS CHAREST, LLP
                                          365 Canal Street, Suite 1170
                                          New Orleans, LA 70130
                                          Tel: (504) 799-2845
                                          Fax: (504) 881-1765-

                                          Jonathan W. Cuneo
                                          Monica Miller
                                          Mark H. Dubester
                                          David L. Black
                                          Jennifer E. Kelly
                                          Evelyn Li
                                          CUNEO GILBERT & LADUCA, LLP
                                          4725 Wisconsin Avenue, NW, Suite 200
                                          Washington, DC 20016
                                          Tel: (202)789-3960

                                          Steve Martino
                                          TAYLOR MARTINO, P.C. ꞏ
                                          51 St. Joseph St.
                                          Mobile, AL 36602
                                          Tel: (251) 433-3131

                                          Gerald M. Abdalla, Jr.
                                          ABDALLA LAW, PLLC
                                          602 Steed Road, Suite 200
                                          Ridgeland, Mississippi 39157
                                          Tel: (601) 487-4590

                                          Attorney for Plaintiff




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                                          /s/ Robert A. Nicholas
                                          Robert A. Nicholas
                                          Shannon E. McClure
                                          Joseph J. Mahady
                                          Anne R. Bohnet
                                          REED SMITH LLP
                                          Three Logan Square
                                          1717 Arch Street, Suite 3100
                                          Philadelphia, PA 19103
                                          Telephone: (215) 851-8100
                                          Fax: (215) 851-1420
                                          smcclure@reedsmith.com

                                          Counsel for Defendant AmerisourceBergen
                                          Drug Corporation

                                          /s/ Enu A. Mainigi
                                          Enu A. Mainigi
                                          Jennifer G. Wicht
                                          Steven Pyser
                                          Ashley Hardin
                                          WILLIAMS & CONNOLLY LLP
                                          680 Main Ave SW
                                          Washington, DC 20024
                                          Telephone: (202) 434-5000

                                          Fax: (202) 434-5029
                                          emainigi@wc.com

                                          Counsel for Defendant Cardinal Health, Inc.


                                          /s/ Charles C. Lifland
                                          Charles C. Lifland
                                          O’MELVENY & MYERS LLP
                                          400 South Hope Street
                                          Los Angeles, CA 90071
                                          Tel: (213) 430-6000
                                          Fax: (213) 430-6407
                                          clifland@omm.com

                                          Counsel for Defendants Johnson &
                                          Johnson; Janssen Pharmaceuticals, Inc.;
                                          Ortho-McNeil-Janssen Pharmaceuticals,
                                          Inc. n/k/a Janssen Pharmaceuticals, Inc.;
                                          and Janssen Pharmaceutica, Inc. n/k/a
                                          Janssen Pharmaceuticals, Inc.


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                                              /s/ Brian T. Himmel
                                              Brian T. Himmel
                                              REED SMITH LLP
                                              225 Fifth Avenue
                                              Pittsburgh, PA 15222
                                              Telephone: 412.288.4058
                                              Facsimile: 414.288.3063
                                              bhimmel@reedsmith.com

                                              Louis W. Schack
                                              REED SMITH LLP
                                              Three Logan Square
                                              1717 Arch Street, Suite 3100
                                              Philadelphia, PA 19103
                                              Telephone: (215) 851-8100
                                              Fax: (215) 851-1420
                                              lschack@reedsmith.com

                                              Counsel for Defendant H. D. Smith, LLC,
                                              f/k/a. H. D. Smith Wholesale Drug Co.


SO ORDERED this ____ day of ________, 2023.




Hon. Dan Aaron Polster
United States District Judge




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